                   UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION




UNITED STATES OF AMERICA,

               Plaintiff,           Case No. 1:24-cv-00008-DAE

       v.

STATE OF TEXAS, et al.,

               Defendants.




        UNITED STATES’ REPLY IN SUPPORT OF ITS MOTION FOR
            PRELIMINARY AND PERMANENT INJUNCTION
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                                     INTRODUCTION
       The Supreme Court has repeatedly confirmed that “the Government of the United

States has broad, undoubted power over the subject of immigration and the status of” noncit-

izens. Arizona v. United States, 567 U.S. 387, 394 (2012). And Congress has exercised that

undoubted power to enact a comprehensive statutory scheme governing the entry and re-

moval of noncitizens. SB 4 both intrudes on that exclusively federal field and conflicts with

the laws Congress has enacted. Texas largely fails to respond to the United States’ arguments

and cited authorities demonstrating that SB 4 is unconstitutional. Instead, the State relies on

a series of novel and unsupported arguments that primarily rest on a policy disagreement: in

Texas’s view, the federal government is not doing enough to combat irregular migration at

the southern border. That policy disagreement, however, cannot override federal law. SB 4

is unconstitutional and should be enjoined.
                                        ARGUMENT
I.     The United States is likely to succeed on the merits.
       A.     SB 4 is field preempted.
        Congress has clearly occupied the field with respect to the entry and removal of

noncitizens, displacing the ability of the 50 States to regulate in this area. PI Mot. at 14–21.

The entry and removal of noncitizens implicate “dominant” federal interests relating to im-
migration, foreign relations, and the control of an international border. Id. at 14–17. There
is also a “framework of regulation so pervasive that Congress left no room for the States to

supplement it.” Id. at 17 (quoting Arizona, 567 U.S. at 399). As explained in our motion

(at 17–19), federal law sets forth in painstaking detail which noncitizens may be admitted to

the United States (see, e.g., 8 U.S.C. §§ 1181 & 1182), when, how, and to where they may be

removed (see, e.g., id. §§ 1225, 1227, 1229, 1229a & 1231), and the protections afforded to

noncitizens who are subject to removal (see, e.g., id. §§ 1158 & 1231(b)(3)). Indeed, Congress

expressly specified that, unless otherwise provided, a federal removal proceeding shall be “the

sole and exclusive procedure for determining whether [a noncitizen] may be . . . removed



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from the United States.” Id. § 1229a(a)(3). Critically, federal law also sets forth a compre-

hensive framework criminalizing unlawful entry (id. § 1325), unlawful reentry (id. § 1326),

and various acts that facilitate unlawful entry (see, e.g., id. §§ 1323, 1324, 1327 & 1328).

       Texas has no response to these arguments and, tellingly, does not even reference the

standard for field preemption. Compare PI Opp’n at 15–22 with Arizona, 567 U.S. at 399.

Instead, Texas mischaracterizes the relevant field as “alien misconduct” (or sometimes “im-

migration regulation”) to argue that federal law does not field preempt “every state enactment

which in any way deals with aliens.” PI Opp’n at 15–17. But the United States does not

contend otherwise; it has argued only that Congress occupied the field of entry and removal.

See PI Mot. at 14, 21. And, just as the federal alien-registration scheme field preempted the

state law in Arizona, the federal statues governing entry and removal of noncitizens field

preempt SB 4. See id. at 19–20.

       Texas argues that the “only field preemption that Arizona recognized was in the federal

alien-registration program.” PI Opp’n at 15–16. But Texas gives no reason why the Arizona

registration scheme was more susceptible to field preemption than SB 4; if anything, SB 4

intrudes on a field—entry and removal of noncitizens—that has a stronger connection to the

dominant federal interests in immigration and foreign affairs. And Texas cannot dispute that
“[t]he federal statutory directives” here “provide a full set of standards,” including “punish-

ment for noncompliance,” and that SB 4 “adds a state-law penalty for conduct proscribed by

federal law.” Arizona, 567 U.S. at 400–01. Arizona’s reasoning thus fully supports field

preemption here.

       Texas contends that “Plaintiffs do not and cannot cite any other cases to demonstrate

that the provisions of SB 4 intrude on a recognized federal field.” PI Opp’n at 16. But the

United States cited numerous cases explaining that the federal government has exclusive con-

trol over the entry and removal of noncitizens. PI Mot. at 17. The Fifth Circuit has confirmed

that “[p]olicies pertaining to the entry of [noncitizens] and their right to remain here . . . are

entrusted exclusively to Congress.” Texas v. United States, 50 F.4th 498, 516 (5th Cir. 2022);


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see also Takahashi v. Fish & Game Comm’n, 334 U.S. 410, 419 (1948) (“The Federal Government

has broad constitutional powers in determining what aliens shall be admitted to the United

States[.] . . . Under the Constitution the states are granted no such powers;”); Hines v. Da-

vidowitz, 312 U.S. 52, 69 (1941) (“Congress has provided a broad and comprehensive plan

describing the terms and conditions upon which aliens may enter this country . . . and the

manner in which they may be deported.”); Truax v. Raich, 239 U.S. 33, 42 (1915) (“The au-

thority to control immigration—to admit or exclude aliens—is vested solely in the Federal

government.”); United States v. Alabama, 691 F.3d 1269, 1293 (11th Cir. 2012) (“The power to

expel aliens has long been recognized as an exclusively federal power.”).

       Multiple courts of appeals have held that the federal scheme criminalizing various as-

pects of illegal entry—especially the federal provision criminalizing transporting and harbor-

ing noncitizens who have unlawfully entered the country, 8 U.S.C. § 1324—field preempt

state-law analogs. See PI Mot. at 20–21; see also Georgia Latino Alliance for Human Rights v.

Georgia, 691 F.3d 1250, 1263-65 (11th Cir. 2012); Valle del Sol, Inc. v. Whiting, 732 F.3d 1006,

1023-26 (9th Cir. 2013); Alabama, 691 F.3d at 1285–87; United States v. South Carolina, 720

F.3d 518, 530–31 (4th Cir. 2013). Just as § 1324 and the related entry provisions field preempt

state-law analogs, so too with SB 4. See PI Mot. at 20–21. Texas has no response these cases.

       Texas emphasizes that SB 4 “mirror[s] federal law,” but that is both incorrect and ir-

relevant. PI Opp’n at 17. As discussed below, SB 4 conflicts with federal law in critical ways.

See Section I.B., infra. But more fundamentally, the Supreme Court has made clear that

“[w]here Congress occupies an entire field,” even “complementary state regulation is imper-

missible.” 1 Arizona, 567 U.S. at 401. “Field preemption reflects a congressional decision to

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        Texas cites Kansas v. Garcia, 140 S. Ct. 791, 806 (2020), for the proposition that ‘“[t]he
mere fact that state laws like’ SB 4 ‘overlap to some degree with federal criminal provisions’
on immigration ‘does not even begin to make a case for’ preemption.” PI Opp’n at 17 (quot-
ing Kansas, 140 S. Ct. at 806). Texas, however, omits the word “conflict” from “conflict
preemption.” The passage of the Kansas opinion that Texas relies on was discussing conflict
preemption, not field preemption. 140 S. Ct. at 806. Nothing in Kansas suggests that it was



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foreclose any state regulation in the area, even if it is parallel to federal standards.” Id. And

that is important here because the federal government needs the exclusive discretion to prose-

cute illegal entry and conduct removals. See PI Mot. at 16. Were it otherwise, “the State

would have the power to bring criminal charges against individuals for violating a federal law

even in circumstances where federal officials in charge of the comprehensive scheme deter-

mine that prosecution would frustrate federal policies.” Arizona, 567 U.S. at 402.

       Contrary to Texas’s argument, federal law nowhere “expressly contemplates concur-

rent regulation with States and localities.” PI Opp’n at 15. Rather, federal law specifies only

narrow circumstances in which States may assist in enforcing federal immigration laws,

which “would be meaningless if States already had the authority to criminalize, arrest, detain,

and remove noncitizens for violating federal immigration law.” PI Mot. at 18; see 8 U.S.C.

§ 1324(c) (allowing state arrests for human-smuggling); 18 U.S.C. § 758 (making it a federal

crime for anyone at an immigration checkpoint to “flee[] Federal, State, or local law enforce-

ment agents in excess of the legal speed limit”). Texas’s other cited provisions recognize only

that States can prosecute certain noncitizens if they violate general criminal laws (like those

against trafficking). See 22 U.S.C. § 7105(c)(3) (contemplating the “prosecution of” usual

“State and local crimes such as kidnapping” and “forced labor offenses” where “severe forms
of trafficking appear to have been involved”); 8 U.S.C. § 1101(a)(15)(T)(i)(III) (referencing

state “prosecution of acts of trafficking”); id. § 1101(a)(15)(U) (referencing state “criminal

law[s]” against, among other things, “domestic violence,” “murder,” and “perjury”). None

of Texas’s cited laws invites States to regulate the entry and removal of noncitizens.

       Texas’s remaining two arguments—that field preemption may not be a viable doctrine

and that there can be no field preemption where the Executive has allegedly “abandoned” the




overruling the century-old rule that even “complementary state regulation is impermissible”
in an exclusively federal field. Arizona, 567 U.S. at 401; Pa. R. Co. v. Pub. Serv. Comm’n of Com.
of Pa., 250 U.S. 566, 569 (1919); see also infra p. 7 (discussing conflict-preemption holding).


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field, PI Opp’n at 19–22—are wholly unsupported. Texas does not dispute that modern Su-

preme Court precedent recognizes field preemption; all nine justices recently applied that doc-

trine in a case Texas repeatedly relies on. See Kansas v. Garcia, 140 S. Ct. 791, 804 (2020); id.

at 808 (Thomas, J., joined by Gorsuch, J.) (applying field preemption despite some skepti-

cism); id. at 808–09 (Breyer, J., dissenting, joined by Ginsburg, Sotomayor, and Kagan, JJ.).

And the Court in Arizona applied it to the noncitizen registration. See 567 U.S. at 400–03.

       Nor is there any reason to accept Texas’s novel argument that SB 4 is not field

preempted because—in Texas’s view—“the federal executive branch has abandoned the very

field it now purports to occupy.” PI Opp’n at 20. Even apart from the fact that the federal

government has not abandoned the field—it regularly enforces the immigration laws, PI Mot.

at 9—the argument fundamentally misunderstands the doctrine. Whether a field is entirely

preempted depends on whether Congress has regulated comprehensively in the field. See, e.g.,

Arizona, 567 U.S. at 399 (“[T]he States are precluded from regulating conduct in a field that

Congress, acting within its proper authority, has determined must be regulated by its exclusive

governance.” (emphasis added)). Texas cites no case holding that the manner of Executive

Branch enforcement in a field is relevant to the inquiry. In the only case Texas cites, Parker

v. Brown, 317 U.S. 341, 353–55 (1943), the Supreme Court found no preemption because the
federal law at issue became “effective only if a program is ordered by the Secretary,” and the

Secretary had not issued any order “putting it into effect.” Id. at 353. In other words, there

was no field preemption because the federal law specifically “contemplate[d] the existence of

state programs at least until such time as the Secretary shall establish a federal marketing

program.” Id. at 354. It did not involve the Executive Branch allegedly “abandoning” a field.

Texas’s theory also conflicts with its own argument that “[t]he Supremacy Clause gives pri-

ority to ‘the Laws of the United States,’ not the criminal law enforcement priorities of federal

officers.” PI Opp’n at 14 (quoting Kansas, 140 S. Ct. at 807). Here, the “Laws of the United

States”—along with several dominant federal interests—pervasively occupy the field of

noncitizen entry and removal.


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       B.     SB 4 conflicts with federal law in numerous respects.
       SB 4 also conflicts with federal law in multiple ways. See PI Mot. at 21–27. Texas

almost entirely disregards these conflicts, and argues only that SB 4 supposedly mirrors fed-

eral law. PI Opp’n 11–14. But SB 4’s attempt to duplicate federal law is incompatible with

federal immigration laws, and regardless, SB 4 is different than federal law.

       Conflict with Limited State Enforcement Role under Federal Law. As an initial mat-

ter, SB 4 conflicts with federal law by giving Texas the ability to unilaterally engage in immi-

gration enforcement efforts not permitted under the statutory scheme enacted by Congress.

Texas does not dispute that federal law specifies only “limited circumstances in which state

officers may perform the functions of an immigration officer.” Arizona, 567 U.S. at 408; see

PI Mot. at 24. Most notably, under 8 U.S.C. § 1357(g), state officers may assist with appre-

hension and detention, or other immigration-related duties, under “the direction and super-

vision of the [Secretary of Homeland Security]” or in “cooperation” with federal officials. Id.

§ 1357(g)(1)-(3), (10). Congress’s purpose in enacting this provision was to ensure that state

immigration-enforcement efforts would be “conducted under the watch of” federal officials

and “in conformity with Federal standards.” PI Mot. at 25.
       SB 4 directly conflicts with this regime by allowing Texas officials to engage in immi-

gration-enforcement activities unilaterally. See Villas at Parkside Partners v. City of Farmers
Branch, 726 F.3d 524, 531–32 (5th Cir. 2013) (plurality) (holding that ordinance “interferes

with the careful balance struck by Congress” by “giving state officials authority to act as im-

migration officers outside the limited circumstances specified by federal law” (internal quota-

tion marks omitted)). Texas’s brief has only a one-sentence response: “[s]tate officials can

implement SB 4 in a way that maximizes cooperation with federal authorities.” PI Opp’n

at 13. But Texas disregards the requirement that it act under the § 1357(g) framework or at

least in coordination with federal officials. “[N]o coherent understanding” of “cooperation”

would “incorporate the unilateral decision of state officers to arrest [a noncitizen] for being

removable absent any request, approval, or other instruction from the Federal Government.”



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Arizona, 567 U.S. at 410. SB 4 thus conflicts with the federal scheme in the same way that the

challenged Arizona law did. See id. at 407–10.

       Intrusion on Federal Discretion. SB 4 also conflicts with the federal scheme by allow-

ing Texas to interfere with the federal government’s exclusive discretion regarding prosecu-

tion of violations of federal immigration law.       Immigration matters inherently involve

questions of foreign affairs and can lead to adverse actions against United States citizens

abroad. The federal government must take these competing interests into account when de-

termining what actions, if any, to take against noncitizens. Three courts of appeal found state-

law analogs to 8 U.S.C. § 1324 to be conflict preempted for the same reason. See GLAHR,

691 F.3d at 1265 (“The [state law], however, are not conditioned on respect for the federal

concerns or the priorities that Congress has explicitly granted executive agencies the authority

to establish.”); Valle del Sol, 732 F.3d at 1027 (“[State law] conflicts with the federal scheme

by divesting federal authorities of the exclusive power to prosecute these crimes.”); Alabama,

691 F.3d at 1287 (“[State law] undermines the intent of Congress to confer discretion on the

Executive Branch in matters concerning immigration.”); South Carolina, 720 F.3d at 532 (find-

ing conflict because the state law would “strip federal officials of the authority and discretion

necessary in managing foreign affairs”); see also Arizona, 567 U.S. at 403.
       Despite these differences, Texas argues that “[a]t every step, SB 4 mirrors federal law

standards” and thus does not conflict with federal law under Kansas v. Garcia, 140 S. Ct. 791

(2020). PI Opp’n at 12. While Kansas recognizes that States generally may create state crimes

that parallel federal crimes, see 140 S. Ct. at 806, that case did not overrule Arizona and does

not stand for the proposition that even a truly parallel state immigration regime is lawful.

Kansas involved a generally applicable law about “fraud, forgeries, and identity theft,” which

“apply to citizens and aliens alike,” id. at 798, and which did not “frustrate[] any federal in-

terests,” id. at 806. Here, by contrast, SB 4 regulates entry and removal, which necessarily

implicate sensitive issues of national security, border security, and foreign affairs. In that

context, allowing a single State to imprison foreign nationals, or order them removed from


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the United States, would fundamentally undermine the federal interests embodied in the

scheme that Congress enacted. And SB 4 is not a generally applicable law that could apply

to citizens and noncitizens alike. Rather SB 4 specifically targets the illegal entry of nonciti-

zens and criminalizes their unlawful presence.

       Conflict with Federal Protections for Noncitizens. Texas has no persuasive response

to the fact that SB 4 conflicts with federal protections afforded noncitizens facing removal

who claim a fear of persecution or torture in their home country or the country to which they

would be removed. See PI Mot. at 21–22; Jacobstein Decl. ¶¶ 24–25. Texas does not dispute

that SB 4 lacks comparable protections. To the contrary, the law makes clear that “a court

may not abate the prosecution” on “the basis that a federal determination regarding the im-

migration status of the defendant is pending or will be initiated.” Tex. Code of Crim Proc.

art. 5B.003. Texas’s only response, in a footnote, is that noncitizens can seek federal removal

protection “while in state custody or from another country.” PI Opp’n at 13 n.38. But SB 4

has no defenses to removal based on likely persecution or torture in the country of removal.

For those already deported under SB 4 to “another country”, the conflict is even more glaring:

if the noncitizen would have been eligible for withholding because of fear of persecution in

Mexico, the noncitizen would have been already been refouled, not to mention that the

noncitizen also could not apply for asylum (or other protections) while outside of the United

States, see 8 U.S.C. § 1158(a)(1) (“Any [noncitizen] who is physically present in the United

States or who arrives in the United States . . . may apply for asylum”).

       Conflict with the Federal Removal. Nor does Texas dispute that, under SB 4, state

judges can issue removal orders without following the federally prescribed process for re-

moval. See PI Mot. at 22–23. State judges can order a noncitizen to return to Mexico without

first coordinating with that country or following the detailed federal process for selecting the

country of removal. See id. For noncitizens traveling from Mexico and who do not enter

through ports of entry, the process of selecting a country of removal is governed by 8 U.S.C.




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§ 1231(b)(2). First, the noncitizen can designate a country of removal, which can be disre-

garded only in certain circumstances. See 8 U.S.C. § 1231(b)(2)(A), (C). If the noncitizen

cannot be removed to that country, there is a hierarchy of removal countries, starting with the

noncitizen’s country of citizenship, the country where he last resided, and so forth, unless

removal to the country is impracticable, inadvisable, or impossible. See id. § 1231(b)(2)(D)–

(E). Accordingly, under federal law, not every removal can be to Mexico. Yet, under SB 4,

removal is always “to the foreign nation from which the person entered.” Tex. Code of Crim

Proc. art. 5B.002(c) & (d). While Texas notes that it would not physically execute its own

removal orders, see PI Opp’n at 16, Texas judges would still be issuing orders requiring certain

noncitizens to leave the country or face felony charges. See Tex. Penal Code § 51.04(b). SB 4
therefore conflicts with the federal statutory scheme, which details when and how noncitizens

are subject to removal orders.

       Conflict With Determining Lawful Presence. Texas does not contest that SB 4 would

require state judges to determine whether noncitizens are “lawfully present” in the United

States. SB 4 provides an affirmative defense to unlawful entry where “the federal government

has granted the defendant . . . lawful presence in the United States.” Tex. Penal Code

§ 51.02(c)(1)(A). But the Fifth Circuit has held that a state or local law requiring state judges

to determine “lawful presence” conflicts with federal law given the significant complexities

for making the determination. See PI Mot. at 23 (quoting Farmers Branch, 726 F.3d at 535–36).

       Conflict with Other Provisions of Federal Law. Texas also does not deny that SB 4 is

broader than its federal counterparts in certain respects. See PI Mot. at 24. For example, SB 4

criminalizes a noncitizen’s reentry into the United States even when the federal government

allows it. Under federal law, a noncitizen who has previously been removed, for instance,

may reenter if she has the consent of the Secretary of Homeland Security. See 8 U.S.C. § 1326.

But SB 4 does not include any “consent” exception. Tex. Penal Code § 51.03(a). SB 4 thus

criminalizes conduct that federal law deems permissible. And because SB 4’s reentry provi-




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sion applies to a person who merely is “found” in the state after having been removed, re-

gardless of whether their subsequent crossing was authorized, it has the effect of criminalizing

mere unlawful presence, in conflict with federal law. See Arizona, 567 U.S. at 407 (“As a gen-

eral rule, it is not a crime for a removable alien to remain present in the United States.”). SB 4

also in certain respects imposes penalties that are more severe than those imposed by its fed-

eral counterparts. Compare Tex. Penal Code § 51.03(b) (unlawful reentry under SB 4 is “felony

of the second degree if the defendant was removed subsequent to a conviction for the com-

mission of a felony”) and Tex. Penal Code § 12.33 (a second-degree felony conviction is pun-

ishable by up to 20 years in prison), with 8 U.S.C. § 1326(b)(2) (unlawful reentry under federal

law is punishable by up to 20 years in prison only if the noncitizen’s prior “removal was

subsequent to” an “aggravated felony” conviction (emphasis added)). And the punishment for

willfully failing to comply with a federal removal order is generally a sentence of up to four

years (or 10 years in certain circumstances), see 8 U.S.C. § 1253; 8 U.S.C. § 1253(a)(1),

whereas it is up to 20 years for violating a state removal order under SB 4, see Tex. Penal Code
§ 51.04. Yet Texas itself acknowledges that under Arizona, a State’s imposition of greater

penalty could create a conflict with federal law. See PI Opp’n at 13.

       Texas also cannot sidestep conflict preemption by arguing that state courts may resolve

these conflicts when noncitizens raise preemption defenses in criminal prosecutions under

SB 4. See PI Opp’n at 14. Such proceedings are an impermissible intrusion on the federal

scheme; no unilateral state prosecution is consistent with federal law. And the possibility that

a state court may hold SB 4 preempted later does not disprove that SB 4 is preempted today.
       C.      SB 4 violates the dormant Foreign Commerce Clause.
       The United States is also likely to succeed on its Commerce Clause claim. Under the

Constitution, “[f]oreign commerce is preeminently a matter of national concern.” PI Mot.

at 27 (citation omitted). Applying binding Fifth Circuit precedent on this issue, Piazza’s Sea-
food World, LLC v. Odom, 448 F.3d 744, 750 (5th Cir. 2006), the United States explained that

SB 4 is invalid because it improperly discriminates against foreign commerce: it criminalizes


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solely the movement of noncitizens across an international boundary into Texas, but nothing

about movement within or out of Texas, and nothing about the movement of American citizens

entering Texas. PI Mot. at 29. SB 4 also improperly “create[s] a substantial risk of conflicts

with foreign governments” and “undermine[s] the ability of the federal government to ‘speak

with one voice’ in regulating commercial affairs with foreign states.” Id. at 28 (quoting Pi-

azza’s Seafood, 448 F.3d at 750). By definition, restricting movement over an international

boundary implicates the United States’ foreign affairs. Id. at 29–30. And Mexico has already

decried SB 4, confirming SB 4’s impact on the nation’s foreign relations. Id.

       Texas hardly engages with the analysis mandated by the Fifth Circuit. For example,

Texas asserts that States can “enact laws that affect interstate or international commerce.” PI

Opp’n at 31. But Fifth Circuit precedent explains that such laws violate the Foreign Com-

merce Clause when they “discriminat[e] against or unduly burden[] foreign or interstate com-

merce.” Piazza’s Seafood, 448 F.3d at 750. And while Texas points to one case that applies

this analysis in a different context—Virginia’s denial of public university admissions to un-

lawfully present noncitizens—it never explains how that case is relevant here. See PI Opp’n

at 33 (citing Equal Access Educ. v. Merten, 305 F. Supp. 2d 585, 608–11 (E.D. Va. 2004)).2
       Instead of engaging in the Commerce Clause analysis, Texas takes issue with the ap-

plicability of the legal standard itself, arguing under both prongs—discrimination and under-

mining federal uniformity—that “illegal entry” is not a “commercial transaction.” PI Opp’n

at 32–34. But Texas has no response to the United States’ cited cases, which held that “move-

ment of undocumented [noncitizen] laborers across a national boundary into this country” is




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         Texas cites Medellin v. Texas, 552 U.S. 491, 496–98 (2008), for the proposition that
even though “[t]he United States’ relationship with Mexico may or may not be strained due
to SB 4,” federal courts “have refused to restrain far more severe exercises of state power
despite their ramifications for foreign affairs.” PI Opp’n at 34–35. But Medellin analyzed only
the question of whether a treaty provision was self-executing and therefore had domestic legal
effect. See Medellin, 552 U.S. at 496.


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“commerce” and the “illegal entry of foreign nationals” also “substantially affect[s] interstate

commerce.” PI Mot. at 27–28 (citations omitted).

       More broadly, the movement of persons is commerce. The Supreme Court said long

ago that “the thousands of people who daily pass and repass over” an interstate or interna-

tional “bridge may be as truly said to be engaged in commerce as if they were shipping cargoes

of merchandise from New York to Liverpool.” Covington & C. Bridge Co. v. Kentucky, 154 U.S.

204, 218–19 (1894). “For more than 175 years of Commerce Clause precedent, this much

has been clear: ‘Within the flow of commerce’ denotes movement or people or things across

interstate borders.” United States v. Ballinger, 395 F.3d 1218, 1232 (11th Cir. 2005) (collecting

cases); see Heart of Atlanta Motel, Inc. v. United States, 379 U.S. 241, 255–56 (1964) (explaining

that commerce is “intercourse,” which includes “the movement of persons through more

States than one”); United States v. Hanigan, 681 F.2d 1127, 1130 (9th Cir. 1982). That’s why

Congress has used its commerce power to regulate the interstate and international movement

of people since the Founding. See, e.g., Taylor v. United States, 579 U.S. 301, 306 (2016) (“Con-

gress may regulate under its commerce power . . . persons or things in interstate commerce.”);

United States v. Guest, 383 U.S. 745, 758–59 (1966) (“[P]recedents firmly establish[] that the

federal commerce power surely encompasses the movement in interstate [or foreign] com-
merce of persons as well as commodities.”); Mobile Cnty. v. Kimball, 102 U.S. 691, 702 (1880).

       Texas argues that “modern cases source the United States’ authority in immigration

matters to ‘its inherent sovereign power to control and conduct foreign relations.’” PI Opp’n

at 33. But that is irrelevant: everyone agrees that Congress has the authority to regulate im-

migration and Texas never disputes the current test for Foreign Commerce Clause violations.

See Piazza’s Seafood, 448 F.3d at 750. In any event, Texas admits that “the Foreign Commerce

Clause was understood to permit the federal government to control at least some aspects of

immigration,” and the State nowhere argues that the cases so holding have been overruled.

Id. at 32. To the contrary, the Court has relied on the Foreign Commerce Clause as a basis




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for immigration regulation even after Texas says the Supreme Court “began a trend of regard-

ing Congress’s power to regulate immigration as an inherent aspect of federal sovereignty.”

Compare id. at 33 (saying that this “trend” started in 1889), with Toll v. Moreno, 458 U.S. 1, 10

(1982) (“Federal authority to regulate the status of aliens derives from various sources, includ-

ing the Federal Government’s . . . power ‘[t]o regulate Commerce with foreign Nations.’”).

       Despite Texas’s protestation that SB 4 purportedly “complements federal statutes,” PI

Opp’n at 34, the Fifth Circuit has explicitly held that even if a state law is “consistent with

federal policy” or “furthers the goals we might believe that Congress had in mind,” a “state

statute that violates the Commerce Clause cannot be saved by a showing that it is consistent

with the purposes behind federal law.” PI Mot. at 29 (quoting Piazza’s Seafood, 448 F.3d

at 751). As the United States explained, “[a] law need not be designed to further local eco-

nomic interests in order to run afoul of the Commerce Clause.” PI Mot. at 29 (citation omit-

ted). SB 4 therefore violates the Commerce Clause.
II.    Texas has no valid defense to the United States’ claims.
       A.     Texas cannot rely on an alleged “invasion” to defend SB 4.
       Texas argues that because the United States purportedly has “refused to ‘protect [the

State of Texas] against Invasion,’” Texas can “engage in War” to defend itself by enacting

legislation that otherwise would be preempted by federal law. PI Opp’n at 23. This Court has

rejected that “breathtaking” argument before, and it should do so again here. United States v.

Abbott, --- F. Supp. 3d. ---, 2023 WL 5740596, at *12 (W.D. Tex. Sept. 6, 2023) (Ezra, J.).

       The State War Clause provides: “No State shall, without the Consent of Congress . . .

engage in War, unless actually invaded, or in such imminent Danger as will not admit of

delay.” U.S. Const. art. I, § 10, cl. 3. Under no reasonable understanding can irregular

migration or criminal cartels’ smuggling activities amount to an “invasion” justifying Texas

engaging in “war.” For constitutional purposes, an invasion is an “armed hostility from an-

other political entity, such as another state or foreign country that is intending to overthrow

the state’s government.” Padavan v. United States, 82 F.3d 23, 28 (2d Cir. 1996); California v.


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United States, 104 F.3d 1086, 1091 (9th Cir. 1997) (same); New Jersey v. United States, 91 F.3d

463, 468 (3d Cir. 1996) (same); see also Invasion, Noah Webster, American Dictionary of the

English Language (1828) (defining “invasion” as “particularly, the entrance of a hostile army

into a country for the purpose of conquest or plunder, or the attack of a military force”). It is

not irregular migration or mere illegal activity by private, non-sovereign actors.

       Texas invokes James Madison’s discussion during the Virginian Ratifying Convention

about the use of state militia to stop smugglers. PI Opp’n at 26. But as Texas acknowledges,

id., Madison’s discussion was in response to concerns about Congress calling forth militia to

execute federal law. See Debates & Other Proceedings of the Convention of Virginia, 292–94 (2d ed.

1805). And when Madison did discuss “invasion” in the context of the Invasion Clause, U.S.

Const. art. IV, § 4, he recognized that it must be conducted by sovereigns. See, e.g., Debates of
the Convention of Virginia, 302 (2d ed., 1805) (“[the States] are to be protected from invasion

from other states, as well as from foreign powers.”); The Federalist No. 43 at 293 (Cooke

ed.1961) (“A protection against invasion is due from every society to the parts composing it.

The latitude of the expression here used seems to secure each State, not only against foreign

hostility, but against ambitious or vindictive enterprises of its more powerful neighbors.”).

       Similarly, the State War Clause does not merely reference invasion in the abstract; it

frees States from the restriction on “engag[ing] in War” when “actually invaded.” And “war”

was traditionally understood to mean “[a] contest between nations or states, carried on by

force.” War, Noah Webster, American Dictionary of the English Language (1828). To make

sense of the Clause, the power granted to the State (“engage in War”) must be commensurate

with the triggering event (“actually invaded”). See Edmund Randolph, 3 Debates in the Sev-

eral State Conventions 70 (Elliot ed. 1836) (“the powers to be given must be commensurate

to the object” to be obtained). Thus, to justify action as extreme as “engaging in war,” the

term “actually invaded” under this Clause must mean armed hostilities rising to the level of

those typically engaged in war with a “state or foreign country” or at least the equivalent to a

“political entity” that has comparable capacity, none of which Texas claims here. Padavan,


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82 F.3d at 28.3 Indeed, if the irregular migration and criminal cartels qualify as “invasion”

justifying a “war” at the southern border, then the federal government could now suspend the

constitutional writ of habeas corpus or provide for the quartering of soldiers. See U.S. Const.

art. I, § 9; id. amend. III. Those would be obviously untenable results.

       In any event, the State War Clause would not allow Texas to enact criminal legislation

regarding entry and removal that conflicts with comprehensive federal law. As an initial mat-

ter, enacting a criminal prohibition on entry and removal is not “engaging in War.” That is

apparent as a matter of common sense, and it is consistent with the Founders’ understanding.

See James Madison, The Report of 1800 (Jan. 7, 1800) (noting that “[t]o protect against invasion

is an exercise of the power of war” and arguing that removal of noncitizens was not an inci-

dent of war and could not be justified as a means of preventing an invasion), available at

https://perma.cc/54f6-tw42. There is also no basis to allow Texas to disregard federal law.
Texas claims that its declaration of an “invasion” allows it to override the pervasive federal

scheme governing the entry and removal of noncitizens. See PI Opp’n at 29. But as this Court

has previously recognized, “this is not a controversy between equals.” Abbott, 2023 WL

5740596, at *10 (citation omitted). There is no question that the United States’ plenary au-

thority over the entry and removal of noncitizens is “superior to that of the States to provide

for the welfare or necessities of their inhabitants”—“the interests of the nation are more im-

portant than those of any state.” Id. (citation omitted). Texas acknowledges that in waging

“war,” it must still comply with the law of war. See PI Opp’n at 23, 26. But the State gives

no reason why it need not similarly obey federal law. Whatever the outer limits of a State’s

authority to repel an actual or imminent invasion, they do not cover the situation here: a State




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         Texas argues that an early statute authorizing the President to call forth militia if the
United States is invaded by “any foreign nation and Indian tribes” confirms that “invasion” is
not limited to state actors. PI Opp’n at 27. But such tribes were “separate sovereigns pre-
existing the Constitution,” Santa Clara Pueblo v. Martinez, 436 U.S. 49, 56 (1978), and retained
their sovereign status, see Montana v. Blackfeet Tribe of Indians, 471 U.S. 759, 764 (1985).


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intruding into an exclusive federal field and overriding federal immigration laws because the

State would enforce those laws differently.

       Even if there is an actual or imminent “invasion,” a State’s authority to repel it (and

purportedly ignore conflicting federal law) does not last indefinitely. See U.S. Const. art. I,

§ 10 (noting Congress may consent to States waging war). The State War Clause was ratified

at a time when every State was bordered by the sea, a foreign power, or both, and it might

take weeks for word of invasion to reach Congress, much less for Congress to assemble and

then deploy federal forces. Thus, this Court properly recognized that a State’s “authority to

act independently only lasts until resources of the federal government can reach the invasion.”

Abbott, 2023 WL 5740596, at *12. “Texas may not claim self defense from invasion at the

border to justify a long-term usurping of Congressional authority.” Id. And Congress has

already enacted a statutory framework to address what Texas characterizes as an invasion.

       Finally, this Court has already held that “whether Texas’s claim of ‘invasion’ is legiti-

mate is a non-justiciable political question.” Abbott, 2023 WL 5740596, at *12. The Court

need not reach that issue because there is no doubt that Texas’s invasion must fail: there is no

“invasion” or “war” at the southern border. See Baker v. Carr, 369 U.S. 186, 217 (1962) (po-

litical-question doctrine applies only when political question is inextricably linked with reso-
lution of the case). In any event, the lesson from the cases on which Texas relies was not that

courts must unquestioningly accept a State’s assertion that an invasion was occurring, but

that States were prohibited from relying on their invocation of an invasion to secure judicial

action to which they would not otherwise have been entitled. See Padavan, 82 F.3d at 28;

California, 104 F.3d at 1091 (same); New Jersey, 91 F.3d at 468 (same). If the Court decides

this issue, it must assess the United States’ claims without regard to Texas’s nonjusticiable

defense. See Abbott, 2023 WL 5740596, at *11.
       B.     The United States can sue in its own courts to enforce federal law.
       Texas fares no better in arguing that the United States has no cause of action. This

preemption suit is no different than the one the United States successfully brought against


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Arizona or the suits against Alabama and South Carolina, discussed above. Congress has

empowered federal courts to exercise equity jurisdiction and to grant such relief as “was tra-

ditionally accorded by courts of equity.” Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund,

Inc., 527 U.S. 308, 318–19 (1999); see 28 U.S.C. §§ 1331, 1651. “[E]quitable relief is tradition-

ally available to enforce federal law” by a proper plaintiff unless Congress has “displace[d]”

it. Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 329 (2015); see also Bell v. Hood, 327

U.S. 678, 684 (1946) (“[I]t is established practice for this Court to sustain the jurisdiction of

federal courts to issue injunctions to protect rights safeguarded by the Constitution . . . .”).

       Beyond the power federal courts possess generally to entertain actions for equitable

relief, they have the power to grant injunctions to the United States to protect its sovereign

interests. The Supreme Court has long recognized that “[e]very government, [e]ntrusted by

the very terms of its being with powers and duties to be exercised and discharged for the

general welfare, has a right to apply to its own courts for any proper assistance in the exercise

of the one and the discharge of the other.” In re Debs, 158 U.S. 564, 584 (1895). Both the

Supreme Court and the Fifth Circuit have reaffirmed “the general rule that the United States

may sue to protect its interests.” Wyandotte Transp. Co. v. United States, 389 U.S. 191, 201–02

(1967); see, e.g., United States v. Minnesota, 270 U.S. 181,194 (1926) (noting United States’
“right to invoke the aid of a court of equity in removing unlawful obstacles to the fulfillment

of its obligations”); Sanitary Dist. of Chi. v. United States, 266 U.S. 405, 425–26 (1925) (“The

Attorney General [ ] may bring this proceeding [to carry out treaty obligations] and no statute

is necessary to authorize the suit.”); United States v. LeMay, 322 F.2d 100, 103 (5th Cir. 1963)

(“The United States may lawfully maintain suits in its own courts to prevent interference with

the means it adopts to exercise its powers of government and to carry into effect its policies”).

       Texas argues that these and other cases permitting suit by the United States involve

the “well-known equitable cause of action to abate a public nuisance” or an implied right of

action, are no longer good law, or fail to consider the issue. PI Opp’n at 36–37. But the case

Texas centrally relies on, Armstrong, recognizes a nonstatutory cause of action in equity “to


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sue to enjoin unconstitutional actions by state and federal officers.” 575 U.S. at 327. “Arm-

strong holds only that the Supremacy Clause does not create a private cause of action”; it “does

not limit the federal government’s ability to enforce the supremacy of its laws.” United States

v. Texas, 557 F. Supp. 3d 810, 820 (W.D. Tex. 2021). Thus, as one court of appeals has

observed, Armstrong “counsels in favor of—not against—permitting the United States to in-

voke preemption in order to protect its interest.” United States v. Supreme Ct. of N.M., 839 F.3d

888, 906 n.9 (10th Cir. 2016). Indeed, as Justice Story observed, “[i]t would be a perfect

novelty in the history of national jurisprudence, as well as of public law, that a sovereign had

no authority to sue in [its] own courts.” 3 J. Story, Commentaries on the Constitution § 1668.

       In any event, as Armstrong recognized, suits against state officials for prospective de-

claratory or injunctive relief are cognizable under the doctrine of Ex parte Young, 209 U.S. 123

(1908); see Turnage v. Britton, 29 F.4th 232, 239 (5th Cir. 2022). Texas’s argument that gov-

ernmental plaintiffs may not rely on Young is meritless. See PI Opp’n at 39. Nothing in Young

or later cases limits its scope to private parties, and the Supreme Court has squarely rejected

that argument. See Virginia Off. for Prot. & Advoc. v. Stewart, 563 U.S. 247, 256 (2011).
III.   SB 4 will irreparably harm the United States and any benefit it may provide Texas
       can be achieved through other lawful means.
       The balance of the equities counsels in favor of granting the United States’ requested

relief. The United States will suffer irreparable harm absent a preliminary injunction. Texas

does not deny that a Supremacy Clause violation, by itself, constitutes irreparable harm. See

PI Mot. at 30. Texas also does not deny that SB 4 will harm foreign relations and discourage

international cooperation, as demonstrated by the United States in its motion and supporting

declaration. See PI Mot. at 30–31; Jacobstein Decl. ¶¶ 6, 7, 9, 32. This can lead to mistreat-

ment of U.S. citizens abroad, and limit foreign cooperation on issues critical to U.S. interests.

See PI Mot. at 30–31. In response, Texas merely notes that other, unspecified state actions

may also harm foreign relations, see PI Opp’n at 54, but that has no bearing on the United

States’s showing that it will suffer harm if SB 4 takes effect. In addition to international harms,



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SB 4 will also impose domestic harms since enforcement of SB 4 could, for example, interfere

with federal law enforcement and intelligence-gathering efforts. See PI Mot. at 33–34.

       While SB 4 would inflict concrete, irreparable harms on the United States, Texas fails

to show that its absence will have any material impact. It largely argues that illegal immigra-

tion causes many harms. PI Opp’n at 56. To the extent Texas wants to assist with immigra-

tion enforcement, however, it can use lawful mechanisms in federal law, such as § 1357(g)

agreements with DHS. Indeed, twenty-six Sheriff’s Offices in Texas already have § 1357(g)

agreements in place. See PI Mot. at 35. In any event, because this is a lawsuit by the United

States, Texas can assert no cognizable interest in protecting its residents. See PI Mot. at 36.
IV.    There is no reason to apply any abstention or severability doctrine here.
       Texas argues that the Court should refrain from reviewing this suit due to Pullman

abstention. PI Opp’n at 58–60. That doctrine is an “exception” to judicial review. City of

Houston. v. Hill, 482 U.S. 451, 467–68 (1987). And it allows federal courts to, in their discre-

tion, abstain from resolving the constitutionality of a state law if “state courts may interpret”

that law “so as to eliminate or at least to alter materially, the constitutional question pre-

sented.” Ohio Bureau of Emp. Servs. v. Hodory, 431 U.S. 471, 477 (1977). But that doctrine has

no applicability here: “abstention is inappropriate when, as here, the United States seeks in

federal court to assert its federal interests against a [S]tate.” United States v. Composite State Bd.

of Med. Examiners, 656 F.2d 131, 136 (5th Cir. 1981). And Pullman abstention does not apply

to preemption claims. See, e.g., United Servs. Auto. Ass’n v. Muir, 792 F.2d 356, 363 (3d Cir.

1986) (“The holdings of” several Supreme Court cases “suggest that a federal court should

not abstain under Pullman from interpreting a state law that might be preempted by a federal

law.”). Regardless, abstention is not justified if “the possible benefits of abstention” are “spec-

ulative.” Hodory, 431 U.S. at 481. The statute must be “obviously susceptible of a limiting

construction” that would resolve the constitutional issue. City of Houston, 482 U.S. at 468.

Otherwise, “it is the duty of the federal court to exercise its properly invoked jurisdiction,”

including in “cases involving a facial challenge to a statute.” Id.


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       Here, Texas offers no “obviously susceptible” construction of SB 4 that would resolve

the United States’ claims. Under any reasonable reading of SB 4, it will allow Texas to impose

penalties on, and issue removal orders for, persons who have unlawfully entered or reentered

the United States. That is the entire purpose and effect of the statute. SB 4 will thus invariably

intrude on the federal government’s exclusive control of the field of noncitizen entry and re-

moval and interfere with the federal government’s authority to enforce immigration law and

regulate foreign commerce. Abstention is therefore inappropriate here for this reason as well.

       Texas also argues that, if the Court agrees with Plaintiffs on the merits, it “should craft

a narrow remedy and sever only the particular applications of any provisions it determines

are invalid.” PI Opp’n at 61. But the United States is not challenging only certain “applica-

tions” of SB 4’s new criminal and removal-order provisions; it is arguing that those provisions

are facially unconstitutional. Indeed, Texas does not identify a single “application” that could

survive if the United States were to prevail on its claims. And the other provisions of SB 4

are generally derivative of the criminal and removal provisions. See, e.g., Tex. Penal Code
Ch. 17 (official immunity for enforcing SB 4); Tex. Gov’t Code § 508.145(a) (denying parole

to those serving a sentence for violating SB 4’s criminal provisions). If the Court finds that

the United States is likely to prevail on the merits, it should enjoin SB 4 in full.
                                        CONCLUSION
       For the reasons explained previously and above, the Court should grant the United

States’ motion and enjoin enforcement of SB 4.




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DATED: February 14, 2024   Respectfully submitted,

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